United States Court of Appeals

For the Fourth Circuit FILED

110 E. Main Street, Suite 501 AUG 1 6 2010

Richmond, VA 23219-3517 US Court of Appeals
ath Circuit

Re: No. 07-4060, US v Paulette Martin
RWI-04-0235
Response to July 23, 2010 Letter

August 10, 2010
Daer Ms. Patricia S. Connor:
I am in receipt of the letter you sent me dated July 23, 2010.
My transcripts were not redacted Merely social security numbers, birthday, etc.

There were huge testimony gaps that needed reconstructed. Enclosed please find
examples of multiple court reporters requesting continuance of due dates, as well as

court reporters being sanctioned.

I was never afforded the opportunities to review NOR participate in the re-

construction.

I am requesting information as to whose testimony was reconstructed as well
as how & by whom filled in the gaps. I can not get satisfaction from the District
Court of Maryland. They refuse to respond to my questions.

I asked for an update copy of my docket in my last letter, therefore, I am
requesting it again since it was not included in my response from the clerk's
office. Thank you.

Respecfully,

Paulette Martin.
Disonetalt Waryland (CMANCP alive 4.0.2)

01/19/2007

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A 7- 2pe ae : Page 39 of 51
SAlu

ORDER of USCA "CONSOLIDATING" USCA Nos. 06-4391(L), 06-43!
07-4059, 07-4060 and 07-4062 as to Paulette Martin, Learley Reed Good
Albert Martin, Jr, Lanora N. Ali, Craig Amold Scott, Donna Conzuella Jo
Notice of Appeal - Fina! Judgment, 793 Notice of Appeal - Final Judgme1
Notice of Appeal - Final Judgment, 1063 Notice of Appeal - Final Judgm:
Notice of Appeal - Final Judgment, 792 Notice of Appeal - Final Judgme:
Deputy Clerk) (Entered: 01/19/2007)

01/19/2007

1085

ORDER of USCA "CONSOLIDATING" USCA Nos. 06-4391(L), 06-43!
07-4059, 07-4060, 07-4062 and 07-4063 as to Paulette Martin, Learley Re
John Albert Martin, Jr, Reece Coleman Whiting, Lanora N. Ali, Craig An
Donna Conzuella Johnson re 827 Notice of Appeal - Final Judgment, 793
Appeal - Final Judgment, 1067 Notice of Appeal - Final Judgment, 1065 ]
Appeal - Final Judgment, 1063 Notice of Appeal - Final Judgment, 1072 1
Appeal - Final Judgment, 1066 Notice of Appeal - Final Judgment, 792 N
Appeal - Final Judgment (c/s) (kre, Deputy Clerk) (Entered: 01/19/2007)

01/22/2007

1086

ORDER of USCA "CONSOLIDATING" 06-4391(L), 06-4392, 06-4527,
4060, 07-4062, 07-4063 and 07-4080 as to Paulette Martin, Learley Reed
John Albert Martin, Jr, Reece Coleman Whiting, Derrek Lewis Bynum, L
Craig Arnold Scott, Donna Conzuella Johnson re 827 Notice of Appeal - |
Judgment, 793 Notice of Appeal - Final Judgment, 1067 Notice of Appea.
Judgment, 1065 Notice of Appeal - Final Judgment, 1063 Notice of Appe
Judgment, 1073 Notice of Appeal - Final Judgment, 1072 Notice of Appe
Judgment, 1066 Notice of Appeal - Final Judgment, 792 Notice of Appea
Judgment (c/s) (kre, Deputy Clerk) (Entered: 01/22/2007)

01/22/2007

1088

ORDER finding as "MOOT" 1080 Motion for Leave to Appeal In Forma
Paulette Martin (1). Signed by Judge Roger W Titus on 1/18/07. (kre, Dey
(Entered: 01/22/2007)

01/25/2007

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ORDER of USCA "CONSOLIDATING" USCA Nos. 06-4391(L), 06-43!
07-4059, 07-4060, 07-4062, 07-4063, 07-4080 and 07-4115 as to Paulette
Learley Reed Goodwin, John Albert Martin, Jr, Reece Coleman Whiting,
Bynum, Lavon Dobie, Lanora N. Ali, Craig Arnold Scott, Donna Conzuel
827 Notice of Appeal - Final Judgment, 793 Notice of Appeal - Final Jud;
Notice of Appeal - Final Judgment, 1065 Notice of Appeal - Final Judgm:
Notice of Appeal - Final Judgment, 1073 Notice of Appeal - Final Judgm:
Notice of Appeal - Final Judgment, 1066 Notice of Appeal - Final Judgm:
Notice of Appeal - Final Judgment, 792 Notice of Appeal - Final Judgmei
Deputy Clerk) (Entered: 01/25/2007)

01/31/3607 “1

1095

ORDER of USCA "CONSOLIDATING" USCA Nos. 07-4059(L), 07-401
07-4063, 07-4080 and 07-4115 as to Paulette Martin, Learley Reed Good:
Coleman Whiting, Derrek Lewis Bynum, Lavon Dobie, Lanora N. Ali re
of Appeal - Final Judgment, 1063 Notice of Appeal - Final Judgment, 107
Appeal - Final Judgment, 1072 Notice of Appeal - Final Judgment, 1066]
Appeal - Final Judgment, 1064 Notice of Appeal - Final Judgment (c/s) (k
Clerk) (Entered: 01/31/2007)

03/12/2007

1113

ORDER of USCA "EXTENDING" court reporter, Sharon O'Neill time to
transcript, without the imposition of sanctions, to 5/10/07 as to Paulette M —

https://ecf.mdd.cire4.den/cgi-bin/DktRpt.p!?16175802643712-1._ 656 0-1 12/3/2009

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Reed Goodwin, Reece Coleman Whiting, Derrek Lewis Bynum, Lavon D
N. Ali re 1067 Notice of Appeal - Final Judgment, 1065 Notice of Appeal
Judgment, 1063 Notice of Appeal - Final Judgment, 1073 Notice of Appe
Judgment, 1072 Notice of Appeal - Final Judgment, 1066 Notice of Appe
Judgment, 1064 Notice of Appeal - Final Judgment (c/s) (krc, Deputy Cle
03/14/2007)

03/27/2007

1116

ORDER of USCA "EXTENDING" court reporter, Gloria Williams time t
transcript, without the imposition of sanctions, to 5/7/07 as to Paulette Me
Reed Goodwin, Reece Coleman Whiting, Derrek Lewis Bynum, Lavon D
N. Ali re 1067 Notice of Appeal - Final Judgment, 1065 Notice of Appeal
Judgment, 1063 Notice of Appeal - Final Judgment, 1073 Notice of Appe
Judgment, 1072 Notice of Appeal - Final Judgment, 1066 Notice of Appe
Judgment, 488 Notice of Appeal - Final Judgment, 1064 Notice of Appea
Judgment, 514 Notice of Appeal - Conditions of Release (kre, Deputy Cle
03/27/2007)

04/23/2007

1126

ORDER of USCA (certified copy) "EXTENDING" court reporter Tracy |
for filing the transcript, without sanctions, to 6/12/07 as to Paulette Martir
Reed Goodwin, Reece Coleman Whiting, Derrek Lewis Bynum, Lavon D
N. Ali re 1067 Notice of Appeal - Final Judgment, 1065 Notice of Appeal
Judgment, 1063 Notice of Appeal - Final Judgment, 1073 Notice of Appe
Judgment, 1072 Notice of Appeal - Final Judgment, 1066 Notice of Appe
Judgment, 1064 Notice of Appeal - Final Judgment (c/s) (kre, Deputy Cle
04/25/2007)

05/02/2007

1127

TRANSCRIPTS(3) of Proceedings as to Paulette Martin et al, held on Jur.
August 1, 29, 2006 before Judge Roger W. Titus. Court Reporter: Gloria ]
(Filed Separately) (aap, Deputy Clerk) Modified on 11/14/2008 to correct
date(rank, Deputy Clerk). (Entered: 05/02/2007)

06/08/2007

1131

MOTION for Final Order of Forfeiture by USA as to Paulette Martin, Lee
Goodwin, Derrek Lewis Bynum, Lanora N. Ali and Exhibit AResponses «
6/25/2007 (rank, Deputy Clerk) (c/s) (Entered: 06/12/2007)

06/12/2007

1132

TRANSCRIPT of Proceedings as to Paulette Martin, Learley Reed Goods
Coleman Whiting, Derrek Lewis Bynum, Ruby Bertine Harden, Lavon Di
N. Ali held on July 11, 2006 and July 12, 2006 before Judge Roger W. Ti
Reporter: Sharon O'Neill. (rank, Deputy Clerk) (Entered: 06/12/2007)

06/13/2007

1133

ORDER of USCA "EXTENDING" court reporter Tracy Dunlap's motion

extension of time to file the transcript without the imposition of sanctions.

Martin, Learley Reed Goodwin, Reece Coleman Whiting, Derrek Lewis E
Dobie, Lanora N. Ali re 1067 Notice of Appeal - Final Judgment, 1065 N.
Appeal - Final Judgment, 1063 Notice of Appeal - Final Judgment, 1073 1
Appeal - Final Judgment, 1072 Notice of Appeal - Final Judgment, 1066 |
Appeal - Final Judgment, 1064 Notice of Appeal - Final Judgment (c/s) (1
Clerk) (Entered: 06/13/2007)

06/14/2007

1135

ORDER of Forfeiture condemning and forfeiting all rights, title, and inter
Paulette Martin, Learly Goodwin, Lanora Ali and Derek Bynum, and dire
Homeland Security to dispose the property in accordance with law 1131 a

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>PAULETTE MARTIN
>> LAW & Justice <<
S.f.f. Hazelton .
P.O, BOX 3000 oa attes Merits PEAT
Bruceton Mills, WY - 26525 Ed ARIA RACE SUE eS
United States

SS

>38350-037@

US COURT OF APPEALS

patricia §. Connor Clerk . {

4TH Circuit

1100 E. MAIN Street #501

Richmond, VA - 23219 - 3517
_ United States

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